Case 23-15356-LMI

Doc 1

 

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United States Bankruptcy Court for the:

0 WRN strctor FLORIDA

(State)

_ Case number (if known):

Official Form 201

Chapter \\

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lad Check if this is an
amended filing

Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

 

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer
identification Number (EIN)

4. Debtor’s address

5. Debtor's website (URL)

Official Form 201

(MANGDAL'S GENERAL SERVICES, TNC,

 

 

 

 

 

Principal place of business

OSB43 BW 1B NE

Mailing address, if different from principal place
of business

 

 

 

 

 

 

Number Street Number Street
E P.O. Box
City State ZIP Code City State ZIP Code

NANT. - DADE

 

County

Location of principal assets, if different from
principal place of business

 

Number Street

 

 

City State ZIP Code

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Name

Debtor \ANGORL S GENER) LS CES pLNC - Case number (# known)

6. Type of debtor

7. Describe debtor’s business

3. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “smail business
debtor’ must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debter’) must
check the second sub-box.

Official Form 201

i oornarance dincluding Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
(J Partnership (excluding LLP)
UI Other. Specify:

 

A. Check one:

(Gl Health Care Business (as defined in 11 U.S.C. § 101(27A))
(J Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(J Railroad (as defined in 11 U.S.C. § 101(44))
(J Stockbroker (as defined in 11 U.S.C. § 101(63A))
Cj Commodity Broker (as defined in 11 U.S.C. § 101(6))
(2! Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

B. Check all that apply:

(J Tax-exempt entity (as described in 26 U.S.C. § 501)

CJ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C] investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

Cc. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
hitp:/Avww..uscourts.gov/four-digit-national-association-naics-codes .

361

 

Check one:

(J Chapter 7
(Chapter 9

Chapter 11. Check aif that apply.
The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its

aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

CJ The debtor is a debtor as defined in 117 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 17. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

CJ A plan is being filed with this petition.

LJ Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

CJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 717 (Official Form 201A) with this form.

L] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
42b-2.

() Chapter 12 _

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Debtor

6-LMI Doc i

MANGUPLS GENERAL SERVES

 

Name

9. Were prior ‘bankruptey cases “No
filed by or against the debtor
within the last 8 years?

if more than 2 cases, attach a

Yes.

District

District

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Case number (if known}

When

When

Case number
MM/ DD/YYYY

Case number

separate list. Ss Wi C mber _
MM/ DD/YYYY

 

She

10. Are any bankruptey c cases

pending or being filed by a

 

 

business partner or an Cles. Debtor Relationship _
affiliate of the debtor? District When
List all cases. If more than 1, MM / DD IYYYY
attach a separate list. Case number, if known _
41. Why is the case filed in this Check ail that apply:

district? ,
Debtor has had its dornicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

GA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12.

Does the debtor own or have No
possession of any real
property or personal property
that needs immediate
attention?

Cl Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check all that apply.)
Cl it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?
Cd it
Cl it includes perishable goods or assets that could quickly deteriorate or lose value without

attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

 

needs to be physically secured or protected from the weather.

(al Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?
C] No

lal Yes. Insurance agency

 

Contact name

 

Phone

Statistical and administrative information

 

 

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Debtor mENaNS SxKERDL SERIKES INC Case number (if known)

Name

 

13. Debtor’s estimation of . Check one:
available funds Funds will be available for distribution to unsecured creditors.

C] After any administrative expenses are paid, no funds will be availabie for distribution to unsecured creditors.

i-9 CJ 1,000-5,000 C} 25,001-50,000
14. Estimated number of 2 50-99 ) 5,001-10,000 (2 50,001-100,000
creditors (J 100-199 ©) 10,001-25,000 CJ More than 100,000
CI 200-999
Cd $0-$50,000 Cd $1,000,001-$10 million 1 $500,000,001-$1 billion
15. Estimated assets Q) $50,001-$100,000 () $10,000,001-$50 million ©) $1,000,000,001-$10 billion
CI $100,001-$500,000 CJ $50,000,001-$100 million &] $10,000,000,001-$50 billion
3a 3500, 001-$1 million Cl] $100,000,001-$500 million (J More than $50 billion
oo QO 30-850, 000 Cl) $1,000,001-$10 million CI $500,000,001-$1 billion
16. Estimated liabilities  $50,001-$100,000 () $10,000,001-$50 million ©) $1,000,000,001-$10 billion
LJ $100,001 -$500,000 (ad $50,000,001-$100 million Cl $10,000,060,001-$50 billion
$500,001-$1 million (al $100,000,001-3500 million C] More than $50 billion

FR cones: for Relief, Declaration, and Signatures

WARNING ~— Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of ag: ~
petition.
debtor

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on “ 32D 0293

/DD SYYYY

  

ARE MWGUEL

Sionatur — representative of debtor Printed name

Title fee eo

 

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Debtor MANGYALS GENZRN. SACS TNC Case number (if known),

48. Signature of attorney an )

Signature of Shaxgey for ceoDP—

 

 

Peter Spindel, Esq.

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Bar number

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